                Case 8:19-cr-00251-PX Document 7 Filed 11/19/18 Page 1 of 1


                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA

                         V.                                                      Case No. TJS 18-mj-03193-1

         Timothy Lawrence Day                                                                              _fit.CEIVI@


                                                                                              NOV 1 9 2018
                                                                                                                    A An
                                                                                                   AT GRESMIEIT
                                                                                              CLERK U.S. DISTMOT cI
                                                                                                DISTACT OF kW/1AZ acr.L)1(
                                                 CONTRIBUTION ORDER


           Although counsel has been appointed to represent the Defendant, it appears to the United

States Magistrate Judge the Defendant may have sufficient resources to contribute financially

toward the payment of counsel fees.

          It is therefore required that court-appointed counsel as well as counsel for the government

bring this matter to the attention of the judicial officer at the time of conviction or acquittal. The

judicial officer may request the Probation Department investigate the Defendant's financial

resources and recommend whether the Defendant should be required to pay any sum as a result

of services rendered by court-appointed counsel pursuant to the provisions of 18 U.S.C. §

3006A(f).
                                                                                ANI.A1r
 November 19 2018
Date                                                                     Timothy J. Sullivan
                                                                         United States Magistrate Judge




U.S. District Court (11/2011) Criminal Magistrate Forms: Miscellaneous
